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Exhibit 1
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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK
i i x Index No.

KAREN MCDOUGAL, SUMMONS

Date Purchased:
Plaintiff, Plaintiff designates New York
County as the place of trial.
-against- Venue is based upon the

Defendant’s principal place
of business and headquarters

FOX NEWS NETWORK, LLC,

Defendant.

To the above named defendant:

YOU ARE HEREBY SUMMONED to answer the verified complaint in
this action and to serve a copy of your answer on the
plaintiff's attorneys within twenty (20) days after the service
of this summons, exclusive of the day of service (or within 30
days after the service is complete if this summons is not
personally delivered to you within the State of New York); and
in case of your failure to appear or answer, judgment will be
taken against you by default for the relief demanded in the
verified complaint.

Dated: New York, New York
December 4, 2019 ERIC BR. BERNSTEIN, P.C.
By: Dp. (SOX ..
260 Madison Avenue, 18th floor
New York, NY 10016
(212) 683-1530

 

Attorneys for Plaintiff

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Defendant’s address:

Fox News Network, LLC
1211 Avenue of the Americas
New York, NY 10036

c/o CT Corporation System

111 Eighth Avenue
New York, NY 10011

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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

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KAREN MCDOUGAL,
Index No. _
Plaintiff,
-against- VERIFIED COMPLAINT
FOX NEWS NETWORK, LLC,
Defendant.
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Plaintiff KAREN MCDOUGAL (“MCDOUGAL”), by and through her
attorneys ERIC R. BERNSTEIN, P.C., as and for her Verified

Complaint against FOX NEWS NETWORK, LLC (“FOX NEWS”), alleges as

follows:
PARTIES
1. MCDOUGAL is a resident and domiciled in the State of
Arizona.
2. FOX NEWS is a foreign limited liability company with

its principal place of business and headquarters located at 1211

Avenue of the Americas, New York, New York.

 

JURISDICTION
3. This Court has jurisdiction over FOX NEWS pursuant to
CPLR §301 and §302.
VENUE
4, Venue properly lies in New York County based upon
1

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FOX NEWS’ principal place of business and headquarters.
FACTS COMMON TO ALL CAUSES OF ACTION

5). According to its website, FOX NEWS operates the FOX
News Channel (“FNC”), FNC is a top five-cable network, FNC has
been the most watched news channel in the country for more than
16 years, and according to a 2018 Research Intelligencer study
by Brand Keys, FOX NEWS ranks as the second most trusted
television brand in the country. Additionally, according to its
website, a Suffolk University/USA Today survey states that FOX
NEWS is the most trusted source for television news or
commentary in the country, while a 2017 Gallup/Knight Foundation
survey found that among Americans who could name an objective
news source, FOX NEWS is the top-cited outlet. FNC is available
in 90 million homes and dominates the cable news landscape while
routinely notching the top ten programs in the genre, according
to the FOX NEWS website.

6. One of the television shows produced and aired by FOX
NEWS in New York is called “Tucker Carlson Tonight” which has an
average daily viewing audience of approximately 2,800,000.

7. “Tucker Carlson Tonight” is hosted by Tucker Carlson

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(“Carlson”) who is employed by FOX NEWS. FOX NEWS also produces
Tucker Carlson Tonight in Manhattan among other places and airs
it weekdays at 8:00pm (Eastern Standard Time).

8. According to the show’s website, Carlson advertises
himself as a reporter of the news and refers to his show as the
“sworn enemy of the lying.”

gy On or about December 10, 2018, FOX NEWS aired,
produced, and published “Tucker Carlson Tonight” (the “Show”)

over its cable television network and later on line via its

website.
10. During the Show, Carslon was purporting to report on
undisputed facts. In particular, he was reporting on payments

that Donald Trump (“Trump”) caused to be made to McDougal and
another woman.

11. In reporting these “undisputed facts” on the Show,
Carlson stated that MCDOUGAL extorted Trump and that was why
Trump caused the payment of $150,000 to be made to MCDOUGAL.

12. Carlson, during the Show, stated, in relevant part:

Remember the facts of the story, these are undisputed. Two

women [one of which was McDougal] approached Donald Trump

and threatened to ruin his career and humiliate his family
if he doesn’t give them money.

Now that sounds like a classic case of extortion. Yet for
whatever reason, Trump caves to it, and he directs Michael
Cohen to pay the ransom. Now, more than two years later,

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Trump is a felon for doing this. It doesn’t seem to make
any sense.

Oh, but you're not a federal prosecutor on a political
mission. If you were a federal prosecutor on a political
mission, you would construe those extortion payments as
campaign contributions.

13. Carlson’s statements were intentionally false and made
with reckless disregard for the truth.

14. Although all of Carlson’s statements regarding
MCDOUGAL are untrue, he begins his news report by informing his
2.8 million viewers that his statements are “facts” and are
“undisputed”.

15. Carlson then stated that MCDOUGAL “approached Donald
Trump and threatened to ruin his career and humiliate his family
if he doesn’t give them money.” Although Carlson never mentions
MCDOUGAL by name, it was obvious to a reasonable viewer who he
was referring to particularly when Carlson put a picture of
MCDOUGAL on the screen while reporting that she extorted Trump.

16. This statement is completely untrue and was made
knowing it was untrue and with reckless disregard for the
truth.

17. MCDOUGAL never approached Trump and threatened to ruin
his career or humiliate his family if he did not give her money.

18. Carlson further states that MCDOUGAL’s purported

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actions which he claims is “undisputed fact” is a classic case
of extortion.

19. During the Show, Carlson repeatedly accused MCDOUGAL
of committing the crime of extortion against Trump.

20. Extortion is a felony under both state and federal
law. Under New York State Penal Law §155.05, “[{a] person
obtains property by extortion when he compels or induces another
person to deliver such property to himself or to a third person
by means of instilling in him a fear that, if the property is
not so delivered, the actor or another will .. [e]xpose a secret
or publicize an asserted fact, whether true or false, tending to
subject some person to hatred, contempt or ridicule.

21. Under federal law, 18 U.S.C. § 875(d), a person is
guilty of extortion when she “with intent to extort from any
person .., any money or other thing of value, transmits in
interstate or foreign commerce any communication containing any
threat to injure the property or reputation of the addressee or
of another ...”

22. Carlson concluded his “reporting” of the “undisputed
facts” as to how McDougal extorted Trump by stating that “for

whatever reason, Trump caves to it, and he directs Michael Cohen

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to pay the ransom” later calling the ransom “extortion
payments”.

23. Carlson asserted several “facts” regarding MCDOUGAL
which are demonstrably false. Indeed, every individual involved
in the payment that Trump caused to be made to MCDOUGAL never
once stated that she extorted Trump or otherwise committed any
crime or unlawful act whatsoever.

24. David Pecker (“Pecker”), the Chairman and C.E.0. of
America Media, Inc. (“AMI”), admitted to federal prosecutors
that he met with Trump and Trump’s attorney Michael Cohen
(“Cohen”) in or about August 2015.

25. At this meeting, Pecker offered to deal with negative
stories about Trump’s relationship with women by, among other
things, assisting Trump in identifying such stories so that they
could be purchased and their publication avoided. Pecker agreed
to keep Cohen apprised of such negative stories.

26. Pecker and Cohen further admitted to federal
prosecutors that in or about June 2016, an attorney who
represented MCDOUGAL attempted to sell her story about her
extramarital affair with Trump by contacting an editor at the
National Enquirer magazine which is owned by AMI. Pecker and

the editor then called Cohen to inform him about the story. At

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Cohen’s urging and subject to Cohen’s promise that AMI would be
reimbursed, the editor began negotiating for the purchase price
of the story. AMI then communicated with Cohen that it would
purchase MCDOUGAL’s story to prevent its publication.

27. According to Cohen and Pecker’s statements to federal
prosecutors, on or about August 5, 2016, AMI entered into an
agreement with MCDOUGAL to, inter alia, acquire her limited life
story of her relationship with “any then married man”, in
exchange for $150,000. Cohen, Pecker, and AMI all conceded that
the principle purpose in entering this transaction was to
suppress MCDOUGAL’s story so as to prevent it from influencing
Trump’s bid for president. At no time did Cohen, Pecker, AMI or
Trump ever accuse MCDOUGAL of extorting anyone.

28. Pecker and Cohen conceded to prosecutors that on or
about August 10, 2016, AMI consummated the deal with MCDOUGAL by
sending her attorney $150,000. AMI, Pecker and Cohen did this
in consultation, concert, and cooperation with, and at the
request and suggestion of Trump.

29. Between in or around late August 2016 and September
2016, Cohen called Pecker and stated that he wanted to be
assigned MCDOUGAL’s limited life rights portion of AMI’s

agreement with her which included the requirement that she not

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tell her story about her affair with Trump. Pecker agreed to
assign the rights to Cohen for $125,000. Pecker instructed a
consultant who works for AMI to complete the assignment through
a company unaffiliated with AMI.

30. On September 30, 2016, Pecker signed an assignment
agreement which contemplated the transfer of the limited life
rights story from AMI to an entity that had been set up by Cohen
for $125,000. The consultant delivered the signed agreement to
Cohen together with an invoice from a shell corporation
incorporated by the consultant for the payment of the $125,000
which falsely stated that the payment was an agreed upon flat
fee for advisory services. However, in or about early October
2016, after the assignment agreement was signed but prior to
Cohen paying the $125,000, Pecker called Cohen and told him that
the deal was off and that Cohen should tear up the assignment
agreement.

31. Cohen, AMI, and Pecker all agree and admitted to
prosecutors that Trump directed Cohen to have MCDOUGAL paid
$150,000 because Trump “was very concerned about how this would
affect the election.” The payment to MCDOUGAL had nothing to do
with extortion.

32. In January 2018, Trump denied directing payment of

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$150,000 to MCDOUGAL and certainly never accused her of
extorting him.

33. In July 2018, a recording by Cohen surfaced in which
Trump can be heard voluntarily suggesting a cash payment to
MCDOUGAL without any suggestion of extortion or threats.

34. On August 22, 2018, Trump stated that he only found
out about the payment that Cohen made to MCDOUGAL “later on” and
that it came from him and that it was legal to do so.

35. In December 2018, Trump stated that MCDOUGAL was paid
on the advice of Cohen, that he never directed Cohen to break
the law, and that if anything illegal happened it was Cohen’s
fault. Most importantly and no matter which version of Trump’s
statements one believes, Trump never once claimed that he was
extorted by MCDOUGAL.

36. In the end, every individual involved in this
transaction never once mentioned, implied, or otherwise
indicated that MCDOUGAL extorted Trump. Yet, Carlson publicly
asserted that this was “undisputed fact” and said that MCDOUGAL
“approached Donald Trump and threatened to ruin his career and
humiliate his family if he doesn’t give [her] money.”

37. Carlson's statements were reckless and lacked any due

diligence because he could not have come to that conclusion if

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he or FOX NEWS had conducted even a cursory investigation into
the matter including speaking with Trump, Cohen, MCDOUGAL,
Pecker, or anyone else at AMI.

38. A reasonable person of ordinary intelligence listening
or watching the Show, including its tone and purpose of
zepontiag “undisputed facts” and being the “sworn enemy of the
lying”, would conclude that MCDOUGAL is a criminal who extorted
Trump for money. Indeed, that is exactly what Carlson said -
“Remember the facts of the story, these are undisputed”;
“[McDougal] approached Donald Trump and threatened to ruin his
career and humiliate his family if he doesn’t give [her] money”;
“Now that sounds like a classic case of extortion”; “[Pjay the
ransom”; and “[T]hose extortion payments ...”

39. The Show made a number of specific assertions of
“facts” against MCDOUGAL which are verifiably false.

40. FOX NEWS could have easily verified that MCDOUGAL did
not approach Trump and threatened to ruin his career and
humiliate his family if he did not give her money.

41. Carlson apparently failed to speak with Trump, Pecker,
Cohen, AMI, or MCDOUGAL as to why or under what circumstances

Trump caused MCDOUGAL to be paid $150,000 prior to making the

aforementioned statements on the Show.

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42. Had Carlson done any investigation or responsible
reporting or journalism, he would have easily discovered that
what he and FOX NEWS published about MCDOUGAL was and is
demonstrably false.

43. Instead, they accused MCDOUGAL of committing a felony
under state and federal law to an audience of approximately 2.8
million people without justification or excuse.

44. Carlson, while under the employ of FOX NEWS and during
the scope of his employment, fabricated a story about MCDOUGAL.

45. In doing so, Carlson and FOX NEWS were grossly
irresponsible and manifested a reckless disregard for truth or
falsity by publishing that MCDOUGAL extorted Trump.

46. Carlson failed to research or investigate how or why
Trump caused MCDOUGAL to be paid $150,000. Nevertheless, he
asserted that his statements were based on “undisputed facts”.

47. After listening or watching the Show, a reasonable
viewer would have concluded that the statements about MCDOUGAL
were fact and that she is a criminal that engaged in illegal
activity against the would-be President of the United States.

48. The persistent factual falsity, the actual malice,

reckless disregard for the truth and the inherently defamatory

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impact of falsely accusing MCDOUGAL of criminality is slander

per se and mandates redress.

CAUSE OF ACTION
(Slander Per Se)

49. MCDOUGAL repeats and realleges each and every
allegation as if set forth herein.

50. FOX NEWS published the aforementioned false statements
about MCDOUGAL made by its employee, Carlson.

S51. FOX NEWS published said statements without
authorization from MCDOUGAL and without privilege.

52. FOX NEWS’ publication was grossly irresponsible, made
with reckless disregard for the truth and actual malice.

53. Carlson and FOX NEWS had, or should have had, reasons
to seriously doubt the veracity or accuracy of the Show's
content about MCDOUGAL.

54. Carlson and FOX NEWS’ publication was slander per se.

55. FOX NEWS is responsible for its own conduct as well as
that of Carlson under the theory of respondeat superior.

96. As a result of FOX NEWS’ conduct, MCDOUGAL has

suffered reputational harm.

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WHEREFORE, plaintiff demands judgment against the
defendant for general and punitive damages in an amount to be
determined at trial but no less than the minimum jurisdictional
amount for this Court together with such other and further
relief as this Court deems just, proper and equitable with the
costs, interest, disbursements and the reasonable attorneys’
fees.

Dated: New York, New York

December 4, 2019

Eric-R. Bernstein, P.C.

By: Ge SRI

260 Madison Avenue, 18th floor
New York, NY 10016

(212) 683-1530

Attorneys for Plaintiff

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ATTORNEY'S VERIFICATION

ERIC R. BERNSTEIN, an attorney duly admitted to practice before
the Courts of the State of New York, affirms the following to be true
under the penalties of perjury: I am an attorney at ERIC R. BERNSTEIN,
P.C., attorneys of record for Plaintiff(s), in the action within. I
have read the annexed

COMPLAINT

and know the contents thereof, and the same are true to my knowledge,
except those matters therein which are stated to be alleged upon
information and belief, and as to those matters I believe them to be
true. My belief, as to those matters therein not stated upon
knowledge, is based upon facts, records, and other pertinent
information contained in my files. The reason this verification is made
by me and not Plaintiff(s) is that Plaintiff(s) is/are not presently in
the county wherein the attorneys for the Plaintiff(s) maintain their
offices.

DATED: New York, New York
December 4, 2019

ERIC R. BERNSTEIN, ESQ.

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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

KAREN MCDOUGAL,
-against-
FOX NEWS NETWORK, LLC,

Defendant.

COMPLAINT

ERIC R. BERNSTEIN, P.C.
260 Madison Avenue, 18" Floor
New York, New York 10016

(212)683-1530

To: Fox News Network, LLC
1211 Avenue of the Americas
New York, New York 10036

c/o CT Corporation System

111 Eight Avenue
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